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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

PATTY BEALL, MATTHEW                                    §
MAXWELL, TALINA MCELHANY AND                            §
KELLY HAMPTON, individually                             §
and on behalf of all other similarly situated;          §
                                                        §
        Plaintiffs,                                     §       2:08-cv-422 TJW
                                                        §
                                                        §
                                                        §
TYLER TECHNOLOGIES, INC. AND                            §
EDP ENTERPRISES, INC.                                   §
     Defendants.                                        §

          DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
         REGARDING OVERTIME CALCULATION AND BRIEF IN SUPPORT

        Defendants Tyler Technologies, Inc. and EDP Enterprises, Inc. (collectively “Tyler” or

“Defendants”) file this Motion for Partial Summary Judgment Regarding Overtime Calculation

and, in support thereof, would respectfully show as follows:

                                            I.
                                     STATEMENT OF ISSUE

        Whether the Court should utilize the fluctuating workweek method for calculating

overtime should it find in Plaintiffs’ favor on the issue of liability.

                                              II.
                                         INTRODUCTION

        This is a purported collective action under 29 U.S.C. §216(b) of the FLSA wherein the

named and opt-in Plaintiffs allege they were misclassified as exempt employees and denied

overtime pay. Throughout this litigation, Tyler has asserted that it properly classified Plaintiffs

as overtime exempt employees under the white collar exemptions of the Fair Labor Standards

Act ("FLSA"). While Tyler continues to contest liability, it seeks partial summary judgment




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concerning the proper method of calculating damages. Specifically, Tyler seeks an order from

the Court that the fluctuating workweek, as set forth in 29 C.F.R. § 778.114, is the correct

method of calculating overtime compensation.

          There is no disputed issue of material fact with respect to any of the requirements under

section 778.114. Plaintiffs understood their fixed salaries to be compensation for all hours

worked during a given week. Moreover, each Plaintiff was paid a fixed weekly salary no matter

how many hours per week he or she worked.

                                            III.
                                  ARGUMENTS & AUTHORITIES

          Because the fluctuating workweek is neither an exemption, an exception, nor a defense,

an employee has the burden of proving it should not apply in a FLSA misclassification case.1

Determining the proper method of calculating damages is a question of law to be decided by the

Court.2

          Should liability be found, Plaintiffs’ overtime should be calculated under the fluctuating

workweek method under 29 C.F.R. § 778.114. For the fluctuating workweek method to apply,

two criteria must be met: (1) the employee is paid a fixed weekly salary that meets the statutory

minimum wage rate; and (2) there is a clear understanding between the employer and the

employee that the fixed salary is compensation for all hours worked during each workweek.3 It

is firmly established in the Fifth Circuit “that when an employee is improperly classified as

exempt, a formula based on the fluctuating workweek standard should be applied” to determine

the proper overtime calculation.4


1
  Samson v. Apollo Res., Inc., 242 F.3d 629, 636 (5th Cir. 2001).
2
  Donihoo v. Dallas Airmotive, Inc., 1998 U.S. Dist. LEXIS 1417, *19 (N.D. Tex. Feb. 2, 1998).
3
  29 C.F.R. § 778.114.
4
  Donihoo, 1998 U.S. Dist. LEXIS 1417, at *20; Blackmon v. Brookshire Grocery Co., 835 F.2d 1135 (5th Cir.
1988); Cox v. Brookshire Grocery Co., 919 F.2d 354 (5th Cir. 1990); Villegas v. Dependable Constr. Serv., Inc.,



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        There is no requirement for an agreement to pay an employee a fixed salary be in writing;

such an agreement may be inferred from the parties’ conduct.5 When an employee is paid a

fixed weekly sum for any and all hours worked, and the employee routinely works overtime and

never receives any overtime pay, the second requirement of section 778.114 is met.6

        In Blackmon, the Fifth Circuit affirmed the district court’s finding that the plaintiffs were

improperly classified as exempt administrative employees.7 The court, however, reversed based

on the lower court’s method of calculating overtime based on a time and one-half multiplier.8

The Fifth Circuit held this method to be “inappropriate when the employer and employee have

agreed on a fixed salary for varying hours.”9 In holding that the fluctuating workweek method of

calculating overtime under section 778.114 should apply, the court explained that, to determine

the regular rate of pay, the fixed salary must be divided by the actual number of hours worked by

the employee each workweek.10 To determine the overtime premium for that week, all hours

worked over 40 in the workweek must be multiplied by one half (0.5), not one and one-half

(1.5), regular rate for that week.11

        Approximately two years later after it issued Blackmon, in Cox v. Brookshire Grocery

Co., the Fifth Circuit again confirmed the fluctuating workweek applies to calculate damages in

FLSA misclassification cases.12 Even more recently, in Tolentino v. C&J Spec-Rent Services, a

district court in the Fifth Circuit again rejected the argument that the fluctuating workweek




2008 U.S. Dist. LEXIS 98801 (S.D. Tex. Dec. 8, 2008); Tolentino v. C&J Spec-Rent Serv. Inc., 2010 U.S. Dist.
LEXIS 69404 (S.D. Tex. July 12, 2010).
5
  Urnikis-Negro v. Am. Family Prop. Serv., 2010 U.S. App. LEXIS 16126, at *46-49 (7th Cir. Aug. 4, 2010).
6
  Id.
7
  Blackmon, 835 F.2d at 1138.
8
  Id.
9
  Id.
10
   Blackmon, 835 F.2d at 1138-1139; see also 29 C.F.R. § 778.114 (a).
11
   Id.
12
   919 F.2d 354, 356-357 (5th Cir. 1990).



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method is inapplicable in misclassification cases.13                In granting the employer’s summary

judgment motion and holding that overtime should be calculated under the fluctuating workweek

method, the court held that it “must follow the Blackmon ruling.”14

        The Tolentino court stated that the Fifth Circuit has interpreted the “clear mutual

understanding” requirement of the fluctuating workweek method broadly by “essentially

requiring only an understanding that the employee would be salaried rather than hourly,

regardless of the workweek.”15 In conclusion, the court stated:

        [o]ther courts within this District and elsewhere in the Fifth Circuit have
        consistently followed Blackmon, even if they disagree…. Simply put, this Court
        is without the authority to ignore or rule contrary to Blackmon. The Court must
        comply with Blackmon and apply the flexible workweek method to determine
        damages in this case should liability be found, as provided in 29 C.F.R. §
        778.114.16

        Plaintiffs cannot meet their burden of proving that the fluctuating workweek method of

calculating damages should not be applied in this case. The undisputed facts, as set forth below,

establish that the parties had a clear and mutual understanding that each Plaintiff’s fixed salary

was to compensate him or her for all hours that he or she worked each week. Also, there is no

dispute that each Plaintiff’s salary was in excess of the statutory required minimum wages.

Accordingly, Defendants’ motion for summary judgment should be granted.

                                           IV.
                              STATEMENT OF UNDISPUTED FACTS

        As demonstrated by the offer letters provided Plaintiffs,17 Plaintiffs were paid fixed


13
   2010 U.S. Dist. LEXIS 69404 (S.D. Tex. July 12, 2010).
14
   Id. at *8.
15
   Id. at *11.
16
   Id. at *10.
17
   There are no offer letters for Plaintiffs Hampton, McElhaney, White, Baird, Churnovic and David. Nonetheless,
deposition testimony of Plaintiffs Hampton, McElhaney, White and Baird demonstrate that the requirements for the
application of section 778.114 are met. See, infra notes 20-26. Tyler has been unable to depose Plaintiff David due
to his failure to participate in the discovery process and Tyler’s motion to dismiss his claims currently is pending
before this Court. Should David’s claims not be dismissed, David cannot meet his burden of proving that the



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salaries in excess of the statutory minimum wages18 that did not fluctuate based on the actual

number of hours worked each week. Plaintiffs therefore understood that they were exempt

employees and that their salaries were compensation for all hours worked.19

        For example, Plaintiff Jill Brown testified that she understood her position was salaried

and that she would not be paid overtime for working more than forty hours per week.20 She also

understood that the number of hours she would work per week would vary.21 Plaintiff Melanie

Baird testified that she was paid a fixed salary every week although her number of hours worked

varied,22 and she understood that her salary would not change based on the number of hours

worked each week, and she understood she would not be paid any overtime for any hours

worked in excess of forty.23 Plaintiff Talina McElhany testified that she understood her fixed

salary would not change no matter how many hours she worked per week and that she

understood that her hours of work each week would fluctuate.24 Plaintiff Lisa White testified

that she understood her salary to be fixed and that she would not be compensated for any

overtime although she would work varying hours each week.25 Plaintiff Kelly Hampton testified

that she was paid a salary, she worked more than 40 hours per week some workweeks, and she



fluctuating workweek method is inapplicable, because there is no evidence that he did not understand his fixed
salary was compensation for all hours worked. Tyler has been unable to depose Churnovic because Churnovic has
been out of the country. Similar to David, Plaintiff Churnovic cannot meet his burden of proving that the fluctuating
workweek method is inapplicable.
18
   See Exhibits A-1 through A-24, offer letters demonstrating Plaintiffs’ annual fixed salaries ranging from $35,000
to $65,000; see also Dkt. No. 18-11, Declaration of Lisa White ¶6; Dkt. No. 18-12, Declaration of Kelly Hampton
¶7; Dkt. No. 18-10, Declaration of Talina McElhaney ¶¶9-10; Ex. 26, Melanie Baird Depo, pp. 17:23-18:6.
19
   See Exhibits A-1 through A-15 (offer letters for Plaintiffs Dodd, Carrington, Dunn, Dunning, Dupree, Flynn,
Gennette, Grimwood, Huynh, Ingram, Maynard, Milburn, Mosenthin, Meyers, and Void, respectively, stating their
fixed salaries); see Exhibits A-16 through A-24 (offer letters for Plaintiffs Bibles, Britt, Brown, Duke, Emde,
Hayner, Mutch, O’Haver, and Wilton, respectively, stating that their position with Tyler is an exempt position and
stating their fixed salaries).
20
   Exhibit B, Jill Brown Depo. pp. 12:24-13:6.
21
   Exhibit B, Jill Brown Depo. pp. 15:22-16:11.
22
   Exhibit C, Melanie Baird Depo. pp. 109:19-24; 111:21-112:8.
23
   Exhibit C, Melanie Baird Depo. pp. 109:25-110:5; 111:8-112:12.
24
   Exhibit D, Talina McElhany Depo. p. 26:4-19, 22-25.
25
   Exhibit E, Lisa White Depo. p. 105:8-12.



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did not complain about not getting paid any overtime when she worked more than 40 hours in a

given week.26

           Based on Plaintiffs’ deposition testimony, their offer letters, and the Parties’ conduct

(continuing to work while receiving no overtime compensation even when Plaintiffs worked over

40 hours per week), it is clear that Plaintiffs understood their fixed salary was to cover all hours

worked. Plaintiffs cannot meet their burden of proving that the fluctuating workweek method is

inapplicable.

                                                    V.
                                                CONCLUSION

           There is no evidence to preclude the application of the fluctuating workweek method to

calculate damages, if any, should liability be found. The parties had a clear understanding that

Plaintiffs were exempt employees and were paid fixed salaries for all hours worked in a given

week. Accordingly, Defendants respectfully requests this Court to grant its motion for summary

judgment and hold that should liability be found, Plaintiffs’ damages, if any, should be

calculated in accordance with the fluctuating workweek method established in section 778.144.




26
     Exhibit F, Kelly Hampton Depo pp. 108:13-16; 109: 9-20.



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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing has been served
via the Court’s ECF system on this 4th day of January, 2011, as follows:

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